egal

FORYZ

Case 2:20-cv-11718-GAD-DRG ECF No. 45, PagelD.1144 Filed 01/31/22 E<A)

 

 

 

IN THE DISTRICT COURT OF THE UNITED STATES
FOR THE EASTERN DISTRICT OF MICHIGAN

JOHN PLAINTIFF,
Plaintiff,
vs. Case No. 2:20-cv-11718-GAD-DRG

WAYNE STATE UNIVERSITY, WAYNE
STATE UNIVERSITY SCHOOL OF
MEDICINE, NICOLINA CAMAJ, MARGIT
CHADWELL, MATTHEW JACKSON,
RICHARD S. BAKER, R. DARIN ELLIS,
in their individual and official
capacities, jointly and severally,

Defendants.

 

The Remote Zoom Videoconference Deposition of
RICHARD S. BAKER, Ph.D.,

Taken at 280 North Old Woodward,

Birmingham, Michigan,

Commencing at 10:20 a.m.,

Tuesday, October 26, 2021,

Before Leisa M. Pastor, CSR-3500, RPR, CRR.

 

Fortz Legal Support [= OR 7

www.FortzLegal.com

844.730.4066 eg 0 |

BIT 28

 
Case 2:20-cv-11718-GAD-DRG ECF No. 45, PagelD.1145 Filed 01/31/22

Page 2 of 8

 

 

 

 

 

 

JOHN PLAINTIFF vs WAYNE STATE UNIVERSITY Job 16362
BAKER, RICHARD 10/26/2021 18..21
Page 18 Page 20
1 A. Correct. 1 committee?
2 Q. And can you tell me what that system involves? 2 A. They do.
3 A. That systems involves an LCME mandated committee which 3 Q. Doall of the students have a vote?
4 is the promotions committee, and a subcommittee of 4 A. All the students that are assigned to the committee
5 that committee which is the professionalism committee. 5 have a vote, yes.
6 Q. Now, you used some initials or an acronym at the 6 Q. Okay. And can you tell me you were the chairman of
7 beginning of that sentence, LCME? 7 the promotions committee when my client's case was
8 A. Yes. 8 considered; is that correct?
9 Q. Can you please tell me what that stands for? 9 A. Correct.
10 A. Yes, liaison committee of medical education. It's the 10 Q. How did the promotions committee get my client's case
11 accrediting body for the MD program. 11 for consideration’?
12 Q. And so that is outside the university? 12 A. The professionalism committee made a recommendation
13 A. Correct. 13 from their committee on me and recommended that the
14 Q. Okay. And the promotions committee's responsibility 14 case be sent to the promotions committee.
15 with respect -- what does it involve with respect to 15 Q. When the professionalism committee -- and now I'm just
16 misconduct? 16 asking you a general question, when they generally
17 A. lt oversees and is responsible for exploring the 17 send a case to the promotions committee, does it
18 conduct of all medical students. It is the entity 18 always come with a recommendation?
19 that actually officially, how should I put this, 19 A. Usually, it does. It becomes the promotions committee
20 officially graduates students. It is that entity that 20 because -- promotions committee has -- has all
21 acts, officially says that students have fulfilled all 21 dispositions at its disposal and the -- and
22 requirements for graduation, including professionals. 22 professionalism committee does not.
23 Q. And when a student fails to meet those standards or 23 Q. So what are the possible outcomes that the promotion
24 engages in serious misconduct, is it the promotions 24 committee can decide on?
25 committee that determines whether or not they will 25 A. Full spectrum.
Page 19 Page 21
1 either remain in school or can continue their 1 Q. Just can you give me a list of those?
2 education? 2 A. Yes. It could -- it could -- remediation, it could be
3 MS. HARDY: Objection, form. 3 citation, it could be -- it could be recommendations
4 A. Correct. 4 for dismissal, and again, the difference between the
5 BY MR. FLORES: 5 professionalism committee and the promotions
6 Q. How many people are on the promotions committee? 6 committee, the promotions committee has the ability to
7 A. Ibelieve -- | believe that there are four chair 7 dismiss a student. They're the only committee that
8 positions. | believe that there are five faculty 8 has that ability.
9 positions, and these are -- these are voting members, 9 Q. Can you tell me what you mean when you say -- or you
10 and I believe that there may be five or six student 10 use the term "remediation"?
11 members of the committee. 11 A. Aplan for a remediation, an individual comes to the
12 Q. How many nonvoting members of the committee are there? 12 promotions committee for many, many different reasons,
13 A. Let me go back. The committee chair is a voting 13 beyond professionalism and academic concerned. Once
14 member when there's a tie in the vote and only at that 14 they do come to promotions committee, they are --
15 time. 15 their full academic record and everything that's been
16 The other participants, the nonvoting 16 done to date is actually at the disposal of that
17 members, it's -- it changes. The number of people who 17 committee.
18 are actually participating changes. 18 Q. Soam| correct in understanding that a student who
19 Q. And that, in some ways, depends on how many people are 19 was performing poorly academically could be ordered by
20 actually able to attend a particular meeting; is that 20 the promotions committee to undertake, you know, an
21 correct? 21 extra year's medical education or repeating certain
22 MS. HARDY: Objection, form. 22 courses or engaging in -- in some other type of action
23 A. Yes, who's available, who's germane to the discussion. 23 to fix the problem that brought them in front of the
24 BY MR. FLORES: 24 promotions committee?
25 Q. Okay. And do the students have a vote in that 25 A. Correct.
scheduling @fortzlegal.com fortzlegal.com Toll Free: 844.730.4066
Case 2:20-cv-11718-GAD-DRG ECF No. 45, PagelD.1146 Filed 01/31/22 Page 3 of 8

 

 

 

 

 

 

JOHN PLAINTIFF vs WAYNE STATE UNIVERSITY Job 16362
BAKER, RICHARD 10/26/2021 30..33
Page 30 Page 32
1 referred it back to the professionalism committee? 1 A. Correct.
2 A. Interesting. Not to my recollection. Not -- not that 2 Q. Okay. And your position there, could you please tell
3 sequence. 3 me what that was?
4 Q. Okay. Have you ever served on the professionalism 4 A. Yes. Provost and dean.
5 committee? 5 Q. Okay. Are you familiar with a "Dear Colleague" letter
6 A. Ihave not. 6 sent in April of 2011 to all colleges and universities
7 Q. Have you ever attended any meetings of the 7 that receive federal funds dealing with violence
8 professionalism committee? 8 against women on campus and sexual harassment?
9 A. Ihave not. 9 MS. HARDY: Objection, form.
10 Q. And have you ever observed a hearing of that 10 THE WITNESS: Yeah --
11 committee? 11 BY MR. FLORES:
12 A. Ihave not. 12 Q. If you know.
13 Q. Have you ever served in any other capacity other than 13 A. No, no, 2011, no.
14 chairman of the promotions committee? 14 Q. Okay.
15 A. Ihave not. 15 A. I don't recollect that.
16 Q. Who selects members of the promotions committee? 16 Q. Dean Baker, in addition to the university's rules, are
17 A. I believe the members of the promotions committee are, 7 there other rules that dictate or control what the
18 and again, | think it's outlined in the document, but 18 promotions committee can do?
19 | believe they are nominated through the faculty 19 A. No, again, there -- it's outlined in those documents,
20 senate. 20 and again, it's based on authority as derived from
21 Q. Okay. And they're voted upon by the faculty senate? 21 the -- from the LCME and -- and the, I guess the
22 A. I believe so. 22 faculty center.
23 Q. Okay. How about the students? 23 Q. Okay. In addition to those, are -- well, let me ask
24 A. The students, the process by which -- good question. 24 it this way. Are you familiar with how the federal
25 I think it comes to their -- their body, 25 court system works?
Page 31 Page 33
1 their elect, their body, the student senate, | 1 MS. HARDY: Objection, form.
2 believe, but -- 2 A. No.
3 Q. Okay. 3 BY MR. FLORES:
4 A. -- as you mentioned, I'm not sure. 4 Q. Are you aware of a difference between the United
5 Q. Okay. That's fine. 5 States District Courts and the United States Courts of
6 Have you had -- first of all, are you 6 Appeal?
7 familiar with Title IX of the federal code? 7 MS. HARDY: Objection, form.
8 A. Yes. 8 A. No.
9 Q. Okay. And what do you understand Title IX to involve 9 BY MR. FLORES:
10 itself with? 10 Q. If you know.
11 A. Again, I'm -- I'm not an expert, okay, so my 11 A. No.
12 familiarity is not just that, but | think Title IX is 12 Q. Are you familiar with a case by the name of Doe versus
13 relative to gender based sexual harassment, a big part 13 Baum that was -- the Court of Appeals for the Sixth
14 of that. 14 Circuit, which covers Michigan, issued that ruling on
15 Q. Okay. Have those kinds of cases come up before your 15 August 1st, 2018; are you familiar with that case?
16 committee? 16 A. No, I'm not.
17 A. No, they have not, not promotions committee. 17. Q. Okay. Do you remember if you ever had a discussion
18 Q. Are title -- to your knowledge, is there a reason why 18 with the general counsel's office about that case?
19 they don't come up to your committee? 19 A. Ihave not had a discussion, no.
20 A. |--1 don't think that that's the -- the process in 20 Q. And do you remember if you've ever received any
21 place. | don't think that that's the, you know, | 21 materials from the office of the general counsel about
22 think there's a parallel or different process for 22 that case?
23 Title IX. 23 MS. HARDY: I'd object to the extent that
24 Q. Okay. In 2011, you were still working at -- was it 24 this seems to be bordering on calling for
25 Drew University in California? 25 attorney-client communications.
scheduling @fortzlegal.com fortzlegal.com Toll Free: 844.730.4066
Case 2:20-cv-11718-GAD-DRG ECF No. 45, PagelD.1147 Filed 01/31/22 Page 4of8

 

 

JOHN PLAINTIFF vs WAYNE STATE UNIVERSITY Job 16362
BAKER, RICHARD 10/26/2021 38..41
Page 38 Page 40

1 I've just said, a written statement and the ability 1 Loretta Robichaud if you know?

2 to -- and then notify they have the ability to testify 2 A. I--I think so.

3 at that meeting -- 3 Q. But you're not sure?

4 Q. Okay. 4 A. No,no. There are four counselors, so | couldn't --

5 A. -- on their behalf. 5 Q. Okay. Once the student has turned in his written

6 Q. Let's talk about just the notice of the meeting. In 6 statement and he shows up or she shows up for the

7 the event that you're talking about a nonacademic 7 promotions committee meeting, does she -- is the

8 misconduct situation, are -- is the student provided 8 student given the opportunity to read the statement or

9 with a list of the charges being considered by the 9 is it simply submitted in writing prior to the
10 promotions committee? 10 meeting?
11 MS. HARDY: Objection, form. 11 A. It's submitted in writing prior to the meeting, and
12 A. Yes, the -- the student gets the same materials, the 12 the student has the opportunity to make a statement
13 same charges or the same recommendation that the 13 there.
14 committee gets. 14 Q. Okay. So that would be a statement in addition to the
15 BY MR. FLORES: 15 letter because the letter's already been distributed
16 Q. Okay. And are those -- what kind of -- what form does 16 among the committee?
17 that take? 17 A. Correct.
18 A. Awritten form, and again, it goes to -- speak to when 18 Q. Okay. And what's the role of the -- what's the role
19 it goes from the professionalism committee to the -- 19 of the committee vis-a-vis the statement? Do they
20 to the promotions committee, there's a statement from 20 conduct cross-examination? What's the interplay
21 the professionalism committee as to what their 21 between the committee and the student appearing before
22 recommendation is, and that recommendation goes both 22 it?
23 to the -- in cases where it's referred to the 23 MS. HARDY: Objection, form.

24 promotions committee, it goes both to the student, 24 A. Yes, they ask questions of the students to get

25 multiple administrators are cc'd on that 25 clarity.

Page 39 Page 41

1 communication, and it goes to the committee. 1 BY MR. FLORES:

2 Q. Okay. When the student provides -- what's the purpose 2 Q. And do you recall the hearing involving my client back

3 of providing the student with the opportunity to 3 in 2018?

4 prepare a written statement? 4 A. Yes, just generally.

5 A. So that the committee is assured that they get all 5 Q. Okay. Do you remember if there was any significant

6 aspects of the case or at least the -- from the 6 questioning of my client during that hearing?

7 viewpoint of the student. We want to assure that they 7 A. Yes.

8 get the complete viewpoint of the student and any 8 Q. And do you remember what those questions focused on?

9 supporting documentation. 9 A. The questions in general focused on one, getting your
10 Q. Andis the student permitted to produce information 10 client's viewpoint on some of the things that were

11 that's new and that was not provided to the 11 submitted and focused on what was perceived as

12 professionalism committee? 12 inconsistencies just getting clarification.

13 A. Yes. 13 Q. Was there a transcript made of that exchange between
14 Q. Andis that statement provided prior to the date of 14 the promotion committee members and my client?

15 the scheduled promotions committee? 15 A. No, none other than what was reflected in the final
16 A. Yes. 16 notes, reflected in the recommendations of the -- of
17 Q. And whose responsibility is it to distribute that 17 the committee.

18 among the members of the committee? 18 Q. And did the committee have an opportunity to question
19 A. I believe what usually happens is the -- well, two 19 the complainant in the case, Amanda Burton?

20 things, one, that the information from the -- from the 20 A. No.

21 professionalism committee comes in a communication 21 Q. Did the committee have an opportunity to question her
22 from the chair. The -- what needs to be done relative 22 mother, Pamela Burton?

23 to the promotions committee is usually communicated 23 A. No.

24 through counselors and student affairs. 24 Q. Did the committee have the opportunity -- withdrawn.

25 Q. And in the case of my client, was his counselor 25 Did the committee ask to have any other

 

 

 

 

scheduling @fortzlegal.com fortzlegal.com Toll Free: 844.730.4066
Case 2:20-cv-11718-GAD-DRG ECF No. 45, PagelD.1148 Filed 01/31/22 Page 5of8

 

 

 

 

 

 

JOHN PLAINTIFF vs WAYNE STATE UNIVERSITY Job 16362
BAKER, RICHARD 10/26/2021 42..45
Page 42 Page 44

1 witnesses appear with respect to my client's case? 1 A. I-- lam aware that there was a conversation. |

2 A. No. 2 don't know the, you know, how many times, when, or any

3 Q. Is that -- does the committee have that authority? 3 of that.

4 A. They did not exercise that. The deliberations in the 4 BY MR. FLORES:

5 committee were based upon what transpired in the 5 Q. Okay. And do you remember if either Dr. Chadwell or

6 committee. The decisions made by the committee was 6 Ms. Robichaud were asked questions about their direct

7 based upon what transpired in the committee. 7 involvement with either the Burtons or with each

8 Q. Okay. Do you know if Loretta Robichaud participated 8 other?

9 in that promotions committee meeting? 9 A. Notto my recollection. Again, most of what

10 MS. HARDY: Objection, form. 10 transpired in the room was based upon behavior in the

11 A. She was present. 11 room, not the individuals outside of the room.

12 BY MR. FLORES: 12 Q. Okay. During the deliberations of the promotions

13 Q. Did she speak during the meeting? 13 committee, did the case of Larry Nassar come up?

14 A. Yes, when questions were asked of her. 14 A. No, not to my recollection, no.

15 Q. Who asked those questions? 15 Q. Was there any discussion about the mental health of my

16 A. |--I can't remember. 16 client?

17 Q. Do you know if my client was in the room when those 17 A. There's always concern about the -- for all of our

18 questions were asked of Ms. Robichaud? 18 students. It's always concern about all of the mental

19 A. I don't remember that. Usually when a student is in 19 health of all of our students. These are -- this is

20 the room, the questions are directed toward the 20 serious proceedings.

21 student versus anyone else. 21 Q. Certainly. But do you remember if there was

22 Q. So questions were directed to Ms. Robichaud other 22 discussion as to the mental health of my -- of my

23 before or after my client appeared before the 23 client?

24 committee? 24 A. Just the general what the impact might be on any

25 A. Correct. 25 student. There's concern particularly -- all students

Page 43 Page 45

1 Q. And would that have been during the course of 1 that go through the process, there's concern.

2 deliberation? 2 Q. Now, the -- the -- if you can, tell me what you

3 A. That was during the committee meeting. 3 remember the nature of the complaints made by

4 Q. Okay. Do you remember Dr. Chadwell being present? 4 Ms. Burton against my client.

5 A. Yes. 5 A. They were similar to what your client has, at least in

6 Q. And was she asked questions by the committee? 6 my recollection, they were similar in terms of

7 A. I don't know specifically, but she might have been. 7 accusations in terms of cyberstalking. They were

8 Q. Do you know if she made any statement in support of my 8 similar to -- to that. But again, I, you know,

9 client? 9 in -- again, my recollection, my impression of the

10 A. Honestly, | cannot remember. 10 decisions that were made by the committee were not

11 Q. Do you know if Ms. Robichaud made any statements in 11 based upon that.

12 support of my client? 12 They were based upon what had transpired in

13 A. Honestly, | can't remember the specific statements 13 the room and the interaction with your client and the

14 that Ms. Robichaud made. 14 members of the committee in that room that day.

15 Q. Are you aware, Dr. Baker, that at the very beginning 15 Q. Okay. So is it your testimony then that the findings

16 when the complaint by Ms. Burton was first made that 16 and the charges that were considered by the

17 Dr. Chadwell had a telephone call with Amanda Burton's 17 professionalism committee did not play a role in

18 mother? 18 dismissing my client?

19 MS. HARDY: Objection, form. 19 MS. HARDY: Objection, form.

20 A. Yes. 20 A. No, I think it did play a role, but it reinforced some

21 BY MR. FLORES: 21 of the -- some of what was said by the professionalism

22 Q. And do you know that Dr. Chadwell and Ms. Robichaud 22 committee.

23 had numerous conversations regarding my client and the 23 BY MR. FLORES:

24 complaint? 24 Q. Okay. Can you tell me what conduct in the -- before

25 MS. HARDY: Objection, form. 25 the promotions committee raised concerns about my
scheduling @fortzlegal.com fortzlegal.com Toll Free: 844.730.4066
Case 2:20-cv-11718-GAD-DRG ECF No. 45, PagelD.1149 Filed 01/31/22 Page 6of8

 

 

 

 

 

 

JOHN PLAINTIFF vs WAYNE STATE UNIVERSITY Job 16362
BAKER, RICHARD 10/26/2021 46..49
Page 46 Page 48
1 Client's ability to remain in school? 1 EXHIBIT C
2 | believe what was stated by the professionalism 2 11:55 a.m.
3 committee is concerns relative to veracity of 3 BY MR. FLORES:
4 statements, to integrity in terms of issues relative 4 Q. And would you work with Dr. Baker to show it to him so
5 to a lack of awareness for what was perceived by that 5 that he can kind of scroll through and read the
6 committee as unprofessional behavior. 6 exhibit? It's five pages long.
7 Would it be fair to say that the committee was 7 A. Next page, please.
8 concerned about efforts to minimize the misconduct? 8 Next page, please.
9 MS. HARDY: Objection, form. 9 Next page, please.
10 A. 1-- | don't understand the question. 10 Okay, I'm finished.
11 BY MR. FLORES: 11 Q. Okay. You can remove the exhibit. If at some point
12 Q. Sure. Are you familiar with the fact that there were 12 during the questions, Dr. Baker, you need to refresh
13 allegations that my client repeatedly texted the 13 your recollection about what you just read, just let
14 complainant even after being told not to text anymore? 14 me know, and we'll have it republished.
15 A. Yes. 15 Do you recognize what that document was,
16 Are you familiar or do you recall that some of the 16 Exhibit -- Exhibit C?
17 complaints dealt with an allegation that he had 17 A. Yes.
18 impersonated an attorney? 18 Q. And what was that?
19 A. Yes. 19 A. I believe that's the minutes of the professionalism
20 Do you remember that some of the allegations involve 20 committee.
21 sexual harassment related to nude photographs? 21 Q. And that would have been in the packet of information
22 MS. HARDY: Objection, form. 22 you received from the professionalism committee; is
23 A. Notto my recollection. 23 that correct?
24 BY MR. FLORES: 24 A. I believe so. Yes.
25 Q. Okay. 25 Q. And in preparation for the promotion committee
Page 47 Page 49
1 A. Not-- 1 meeting, do you remember whether you reviewed that
2 Q. Let me see if | can refresh your recollection. Do you 2 material?
3 remember whether the complaint alleged that someone 3 A. Probably reviewed that material, yes.
4 unknown to Ms. Burton had tried to access personal 4 Q. So that would have been standard for you to review all
5 photographs contained on her Snapchat account? 5 of the material that the professionalism committee
6 A. Yes. 6 sent you?
7 Q. And do you remember her testimony before the 7 A. Correct.
8 professionalism committee revolving around the fact 8 Q. And does that refresh your recollection as to the
9 that some of those photographs involved nude 9 nature of the complaint made by Ms. Burton?
10 photographs of her? 10 MS. HARDY: Objection, form.
11 MS. HARDY: Objection form. 11 A. Yes, now that I've read it.
12 A. No, that did not come to the promotions committee to 12 BY MR. FLORES:
13 my knowledge. 13 Q. Okay. And in your own words, can you tell me what her
14 MR. FLORES: Okay, it's 11:30. Why don't 14 complaint boiled down to?
15 we take a ten-minute break and be back here at 11:42? 15 A. Well, what she's articulated was harassment.
16 MS. HARDY: Okay, fair enough. 16 Q. And that involved -- what, if any, were the sexual
17 (Recess taken at 11:32 a.m.) 17 aspects of that harassment?
18 (On the record at 11:54 a.m.) 18 MS. HARDY: Objection, form.
19 MR. FLORES: Derek, you're our technology 19 A. I guess it's, one, the procurement of pictures would
20 person today, right? 20 have been, you know, misrepresentation in the attempt
21 VIDEO TECHNICIAN: Yes. 21 to procure pictures that were personal.
22 MR. FLORES: Could you please publish 22 BY MR. FLORES:
23 Exhibit C for the witness? 23 Q. And do you recall what the complainant's testimony was
24 VIDEO TECHNICIAN: Absolutely. 24 with respect to how it made her feel?
25 MARKED FOR IDENTIFICATION: 25 MS. HARDY: Objection, form.
scheduling @fortzlegal.com fortzlegal.com Toll Free: 844.730.4066
Case 2:20-cv-11718-GAD-DRG ECF No. 45, PagelD.1150 Filed 01/31/22 Page 7 of 8

 

 

 

 

 

 

JOHN PLAINTIFF vs WAYNE STATE UNIVERSITY Job 16362
BAKER, RICHARD 10/26/2021 50..53
Page 50 Page 52

1 A. No, except for whatever she said in the document. 1 committee, and did the promotions committee come to a

2 BY MR. FLORES: 2 conclusion whether or not my client was telling the

3 Q. Okay. But you don't have any independent recollection 3 truth?

4 of what she said? 4 MS. HARDY: Objection, form.

5 A. No. 5 A. So there were -- there was similar concerns within the
6 Q. Is it fair to say that Ms. Burton and Mr. Eid had very 6 promotions committee. There were many

7 different perspectives on what had taken place between 7 inconsistencies, and the discussions actually

8 them? 8 reflected that concern.

9 MS. HARDY: Objection, form. 9 BY MR. FLORES:
10 A. Yes. Well, there was some agreement as to their 10 Q. But the discussion did not have a -- the promotion
11 interaction, but there was some disagreement as to 11 committee did not have an opportunity to hear directly
12 what had taken place between them, yes. 12 from Ms. Burton, did they?

13 BY MR. FLORES: 13 A. No, nor did they request it, either.

14 Q. Okay. And ultimately, who did the professionalism 14 Q. So there was no opportunity to ask her questions and

15 committee believe was telling the truth? 15 determine whether she was telling the truth?

16 MS. HARDY: Objection, form. 16 MS. HARDY: Objection, form.

17 A. Well, one, | was not at the committee. 17 A. Correct, but the focus was on -- was on Anthony, not
18 BY MR. FLORES: 18 on her, not on the -- it was not a trial. It was

19 Q. Okay. So did the committee -- let me ask it this way. 19 really -- the focus was on his specific behavior.

20 When you received the committee's recommendation, they 20 BY MR. FLORES:

21 had reached a conclusion; is that correct? 21 Q. Is it your testimony then that it would not have made

22 A. Correct. 22 a difference if you had found out that Amanda Burton

23 Q. And what was their conclusion? 23 had lied about the impersonation of the attorney and

24 A. Their conclusion was stated, | believe there were five 24 had created those documents herself and provided them
25 points that they -- in their letter, there are five 25 to the professionalism committee? Are you telling me

Page 51 Page 53

1 points of concern, and again, | think it goes back to 1 that wouldn't have made a difference?

2 concern relative to, one, I've always stated both the 2 MS. HARDY: Objection, form.

3 habitual lying, right, the lack of veracity, and I 3 A. It was -- and again, it wasn't -- the focus was not in

4 guess what | would term maybe lack of contrition 4 the promotions committee on her testimony or -- at

5 that -- the fact that, that, you know, Anthony did not 5 all. The focus was on -- again -- when you look at

6 take any ownership for any of the actions. 6 what was stated, I believe my impression is that the

7 Q. And in light of the fact that there was concern about 7 meeting focused on the fact that it was unlikely,

8 lying, is it fair to say that the professionalism 8 unlikely that Anthony did not have something to do

9 committee was adopting one of the two versions of the 9 with those statements including the letters sent by

10 account? 10 the lawyer. It is highly unlikely, independent of

11 MS. HARDY: Objection, form. 11 who -- who sent it.

12 A. No, again, not -- not having been at the committee, | 12 So -- so again, | don't -- | don't believe

13 cannot say, but the focus was not at one versus 13 that the questioning was her statement versus his. It
14 another. | think the focus was specifically on 14 was his behavior and his statements relative to some
15 Anthony, what he did. 15 of the questions.

16 BY MR. FLORES: 16 Q. But Doctor, the whole reason Anthony was before your
17 Q. Is it fair to say that the professionalism committee 17 committee was because of the allegations made by

18 did not believe Anthony Eid's statements? 18 Ms. Burton; is that right?

19 MS. HARDY: Objection, form. 19 A. Correct.

20 A. It appears from what they said in that document, the 20 Q. Okay. So if Ms. Burton had not made those allegations
21 minutes, that there are multiple statements that they 21 and the professionalism committee didn't believe them,
22 did not believe, yes. 22 would there have been a presentation before the

23 BY MR. FLORES: 23 promotions committee?

24 Q. Okay. And subsequent to that hearing, you also held a 24 MS. HARDY: Objection, form.

25 hearing involving my client before the promotions 25 BY MR. FLORES:

scheduling @fortzlegal.com fortzlegal.com Toll Free: 844.730.4066
Case 2:20-cv-11718-GAD-DRG ECF No. 45, PagelD.1151 Filed 01/31/22 Page 8 of 8

 

 

 

 

 

 

JOHN PLAINTIFF vs WAYNE STATE UNIVERSITY Job 16362
BAKER, RICHARD 10/26/2021 54..57
Page 54 Page 56

1 Q. Let me simplify it for you. 1 Q. And if you would go down to the first page. If you

2 A. Yes. 2 would read that portion that's currently displayed to

3 Q. Ifthe promotions committee thought Amanda Burton was 3 yourself and let me know when you're done, thanks.

4 lying through her teeth, what would have happened 4 A. Next page, please.

5 during that stage if they believed Anthony was telling 5 Q. Doctor, if | may, could | direct you to page 3 and

6 the truth, Amanda was lying? Do you have a -- based 6 section 6?

7 on your experience, do you have an opinion based on 7 =A. Yes.

8 what the professionalism committee would have done? 8 Q. And then if you would show him the very last page and

9 MS. HARDY: Objection form. 9 just take a look at the very end, the last sentence.

10 A. Sol can't speak for other people. 10 Okay, you can -- are you done?

11 BY MR. FLORES: 11 A. Yes.

12 Q. |understand. 12 Q. Okay. You can remove the exhibit.

13 A. I can't speak for other people. Her -- her testimony, 13 Do you recognize that document, Dr. Baker?

14 her allegations were not germane to much of the 14 A. [believe | read it's the Student Code of Conduct.

15 deliberation in that room. The focus was on Anthony's 15 Q. But do you recognize the changes that that document

16 behavior and his statements. It didn't matter if 16 contains from the standard Student Code of Conduct due

17 somebody else did something else, didn't matter, 17 process rules?

18 they're two people. The focus was really, and the 18 A. Not particularly, no.

19 concern really was on Anthony's behavior, some -- some 19 Q. Okay. Did you observe at the beginning of the

20 very big inconsistencies, and the fact that at least 20 document that the purpose of the document was to

21 during the committee hearing, it appeared and the 21 respond to the case and the decision by the Court of

22 impression was from -- from the members of the 22 Appeals in Doe versus Baum?

23 committee that he was taking no responsibility for any 23 A. Yes.

24 of his decisions or behaviors. 24 Q. Andis it fair to say that section 6 lays out how

25 Q. Dr. Baker, is it fair to say that Anthony's 25 cross-examination would be done under these interim

Page 55 Page 57

1 explanation for why he made contact with Amanda Burton 1 rules?

2 was that his accounts, both bank accounts and computer 2 MS. HARDY: Objection, form, the document

3 accounts were being accessed without authorization? 3 speaks for itself. It's not...

4 A. Yes. 4 BY MR. FLORES:

5 Q. And would you agree that he had a right to try to fix 5 Q. Did you see that? Did you read that? Did you

6 that problem? 6 understand that as far as section 6?

7 =A. Yes. 7 MS. HARDY: Objection, form.

8 Q. And the complainant in this case challenged that 8 BY MR. FLORES:

9 notion; is that correct? 9 Q. You still need to answer the question, Doctor.

10 A. When you Say challenge, what do you mean? 10 A. Yeah, so I read it. I've read it. Like | said, I've

11 MS. HARDY: Objection. 11 read it.

12 BY MR. FLORES: 12 Q. Okay.

13 Q. Well, the complainant's position was that she did not 13 A. My understanding, yeah.

14 believe that Anthony was telling the truth and that 14 Q. And the document says that the interim guidelines are

15 that's the reason why he was contacting her? 15 effective as of December 7th, 2018. Was that before

16 A. Yes. 16 or after the professionalism committee met in the --

17 MS. HARDY: Objection. 7 to discuss my client's case?

18 MR. FLORES: Okay. 18 A. [believe it was -- and again, I don't know the exact

19 MS. HARDY: Form. 19 date; it's probably before.

20 MR. FLORES: All right, let's move on. If 20 Q. Okay. Was it before the promotions committee met?

21 you would, please publish Exhibit D for Dr. Baker. 21 A. Yes, it was.

22 MARKED FOR IDENTIFICATION: 22 Q. Okay. Do you remember seeing any information in the

23 EXHIBIT D 23 professionalism packet or file that was sent to the

24 12:14 p.m. 24 promotions committee that set out information based on

25 BY MR. FLORES: 25 the cross-examination of Amanda Burton?
scheduling @fortzlegal.com fortzlegal.com Toll Free: 844.730.4066
